        Case 4:21-cr-00251-BLW Document 55 Filed 12/28/22 Page 1 of 22




                      UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF IDAHO

  UNITED STATES OF AMERICA,
                                              Case No. 4:21-cr-00251-BLW

        Plaintiff,                            MEMORANDUM DECISION
                                              AND ORDER
         v.

  MARCO ANTONIO OSUNA,

        Defendant.



                                INTRODUCTION

      Before the Court is Defendant Marco Antonio Osuna’s Motion to Suppress

(Dkt. 44). After police officers discovered blue pills in a small black container

found in a backpack in Osuna’s car, Osuna was indicted for conspiracy to

distribute and possession with intent to distribute 400 grams or more of fentanyl.

Osuna alleges that the search of his car was conducted incident to an unlawful

seizure in violation of the Fourth Amendment, and therefore the fruits of that

search, including the alleged fentanyl discovered in the car must be suppressed.

The Court held an evidentiary hearing on the Motion on November 17, 2022, and

now issues the following decision.




MEMORANDUM DECISION AND ORDER - 1
        Case 4:21-cr-00251-BLW Document 55 Filed 12/28/22 Page 2 of 22




                                  BACKGROUND

      On August 7, 2021, at approximately 6:54 p.m., officers of the Pocatello

Police Department were dispatched to conduct a welfare check at the Common

Cents gas station. Dispatch had received a call from an individual concerned about

a male in a black Nissan Altima with Arizona plates parked at the gas station. The

call was recorded. The caller reported that “there’s a man that’s been parked in the

Common Cents parking lot….And, uh, his car is like smashed up kind of, uh, we

think he’s passed out drunk.” Dispatch Call Tr., p. 1, Dkt. 48-1. The caller further

explained that the man in the Nissan had been there “for like two hours,” and the

caller “was afraid if he was, like, OD’d or something.” Id. Dispatch relayed to the

responding officers that there was “a male slumped over the steering wheel for the

last two hours” at the Common Cents parking lot, in a black Nissan Altima with

Arizona plates with “some damage to the vehicle.” Id.

      The responding officers, Officer T. Namohala and Officer M. Saldana

arrived at Common Cents at approximately 7:00 p.m. Officer Namohala arrived

first on his patrol motorcycle and, without activating his sirens or lights, parked the

motorcycle by the gas pumps approximately 20 or 30 feet away from the black

Nissan Altima. Officer Saldana arrived soon after and pulled up next to Officer

Namohala’s motorcycle in her patrol car. Officer Namohala testified that the

information relayed by dispatch regarding a male slumped over the steering wheel


MEMORANDUM DECISION AND ORDER - 2
       Case 4:21-cr-00251-BLW Document 55 Filed 12/28/22 Page 3 of 22




for two hours in a damaged vehicle raised concerns not only regarding the man’s

welfare but also whether the man had been driving while impaired. Hearing Tr. 26:

8-16. Officer Namohala further testified on cross-examination that frequent DUI-

related arrests occur in the area – even in the daylight hours. Hearing Tr. 38:1-22.

      As the officers arrived, they observed a vehicle matching the description

given by the caller – a Black Nissan with a damaged window and Arizona plates –

parked askew in front of the store. A male, the sole occupant, was sitting in the

driver’s seat. The man was later identified as the defendant, Marco Antonio Osuna.

The vehicle was turned on and the engine was running. Although the windows had

a very dark tint, the officers could see the man speaking on his cell phone as they

walked towards the vehicle.

      Officer Namohala approached the driver’s side of the vehicle and waved at

Osuna. Officer Saldana followed behind Officer Namohala a short distance. Both

officers were uniformed, and their firearms were in plain view of Osuna, but

remained holstered throughout the entire encounter. In response to Officer

Namohala’s wave, Osuna cracked his window approximately two to three inches.

Officer Namohala said hello and asked Osuna if he was okay. Osuna responded

that he was fine. He then pointed out the damage to the front of his car and

explained his check engine light came on, so he pulled into the Common Cents

parking lot to wait for a friend to come pick him up.


MEMORANDUM DECISION AND ORDER - 3
       Case 4:21-cr-00251-BLW Document 55 Filed 12/28/22 Page 4 of 22




      Officer Namohala told Osuna that they were responding to a call saying

Osuna had been parked there for over two hours and had been slumped over the

steering wheel. Osuna seemed to confirm that he had been parked there two hours

but scoffed at the suggestion that he was slumped over the wheel. Namohala also

inquired about the damage to Osuna’s car and asked if Osuna had hit anything.

Osuna denied that he had hit anything and said his car had been damaged “for a

while” – a “couple of days.”

      Officer Namohala testified that he observed Osuna’s eyes were red and

glassy and that Osuna’s explanation regarding the damage to his car “wasn’t really

making sense.” Hearing Tr., p. 29:6-21. Namohala further testified that he had

trouble understanding Osuna, so, to him, “his speech appeared to be slurred.” Id.

Namohala then asked to see Osuna’s driver’s license. Osuna replied that he would

look for it; he then proceeded to roll his window back up and lock the doors. The

officers observed Osuna reaching around his vehicle. Officer Saldana commented

that Osuna’s movements were “super slow” and that he kept running into things

and did not what he was looking for. Officer Namohala replied, “Yeah, his eyes

were bad.” Officer Saldana noted that there was “something in the front seat,” but

she could not see it because the window tint was too dark; she then observed that

Osuna was reaching for something in the back seat. According to Officer




MEMORANDUM DECISION AND ORDER - 4
       Case 4:21-cr-00251-BLW Document 55 Filed 12/28/22 Page 5 of 22




Namohala, Osuna’s movements appeared slow and confused as he was purportedly

looking for his driver’s license. Hearing Tr. 30:20-31:1.

       Officer Namohala then knocked on the car window and asked Osuna to exit

the vehicle. Osuna asked why, and Officer Namohala explained that he had reason

to suspect Osuna was impaired and needed to perform a Field Sobriety Test. Osuna

replied he was going to lock his stuff up and rolled up the window. After Osuna

rolled up the window, Officer Namohala asked Osuna to exit the vehicle multiple

times. Osuna said he would exit, but he did not get out of the vehicle. When

Namohala initiated the contact with Osuna, he spoke cordially and without any

threat of force, but his tone became increasingly forceful and agitated after Osuna

rolled the window back up and did not immediately get out of the car.

      After about ten seconds, Osuna unlocked the vehicle but did not open the

door. Officer Namohala opened the door and told Osuna to exit the vehicle. Osuna

stood up and exited the vehicle. As Osuna stood up from his vehicle, an empty pen

case dropped from his lap – an item known as a “tooter” and commonly used to

ingest drugs. Officer Namohala immediately told Osuna that he was under arrest.

Osuna asked why he was being arrested and jumped backward into the seat of the

vehicle. Officer Namohala pulled his taser from his holster and pointed it at Osuna

and yelled at him to get out of the car or he would be tased. Officer Namohala then

tased Osuna. Osuna continued to struggle after being tased. Other officers arrived


MEMORANDUM DECISION AND ORDER - 5
        Case 4:21-cr-00251-BLW Document 55 Filed 12/28/22 Page 6 of 22




on scene to assist. Eventually, Osuna was subdued and transported to a local

hospital for treatment and evaluation.

      Officers conducted a search of Osuna’s vehicle to locate his identification

and drug items related to the pen cap that was observed falling from his lap. They

located the following items: a bag containing a substance consistent with

methamphetamine in the center console, a loaded handgun in the passenger seat

floorboard, an AR-style rifle on the passenger-side floorboard, and a large number

of blue pills believed to contain fentanyl located in a canister in a backpack found

on the passenger seat floorboard. Osuna now seeks to suppress the fentanyl pills

that were found during the search of his vehicle after his arrest, arguing that the

was unlawfully seized in violation of the Fourth Amendment.

                                     ANALYSIS

   1. Seizure

      The Fourth Amendment to the United States Constitution protects “against

unreasonable searches and seizures.” U.S. Const. amend. IV. The Supreme Court

has identified three distinct types of police-citizen encounters, each requiring a

different level of suspicion to be deemed reasonable under the Fourth Amendment:

(1) arrest, which must be supported by probable cause, see Adams v. Williams, 407

U.S. 143, 148–49 (1972); (2) brief investigatory stops, commonly known as Terry

stops, which must be supported by reasonable articulable suspicion, see Terry v.


MEMORANDUM DECISION AND ORDER - 6
        Case 4:21-cr-00251-BLW Document 55 Filed 12/28/22 Page 7 of 22




Ohio, 392 U.S. 1, 20–22 (1968); and (3) brief encounters between police and

citizens, which require no objective justification, see Florida v. Bostick, 501 U.S.

429, 434 (1991).

      In this case, neither party disputes that the encounter between the officers

and Osuna began as a lawful “welfare check” that ripened into a full-blown arrest,

requiring probable cause. Osuna, however, contends that the officers unlawfully

seized him prior to the arrest when Officer Namohala asked to see his driver’s

license absent reasonable suspicion. The Court disagrees.

      “A person is seized if taking into account all of the circumstances

surrounding the encounter, the police conduct would have communicated to a

reasonable person that he was not at liberty to ignore the police presence and go

about his business.” United States v. Washington, 490 F.3d 765, 769 (9th Cir.

2007) (quoting Bostick, 501 U.S. at 437 (1991) (internal quotation marks omitted);

see also United States v. Mendenhall, 446 U.S. 544, 554 (1980) (holding that an

encounter is a seizure if “a reasonable person would have believed that he was not

free to leave”). This “‘reasonable person’ test presupposes an innocent person.”

Bostick, 501 U.S. at 438. “Examples of circumstances that might indicate a seizure,

even where the person did not attempt to leave, would be the threatening presence

of several officers, the display of a weapon by an officer, some physical touching

of the person of the citizen, or the use of language or tone of voice indicating that


MEMORANDUM DECISION AND ORDER - 7
         Case 4:21-cr-00251-BLW Document 55 Filed 12/28/22 Page 8 of 22




compliance with the officer’s request might be compelled.” Mendenhall, 446 U.S.

at 54

        Not every encounter between a law enforcement official and a citizen

involves a seizure, however. Terry, 392 U.S. at 19 n. 16. “Absent indicia of force

or aggression, a request for identification or information is not a seizure or

investigatory stop.” United States v. Kim, 25 F.3d 1426, 1430 (9th Cir. 1994)

(citing $25,000 U.S. Currency, 853 F.2d 1501, 1505 (9th Cir. 1988)); INS v.

Delgado, 466 U.S. 210, 216 (1984) (brackets and internal quotation marks

omitted). Law enforcement officers may approach citizens, put questions to them,

and ask for identification without implicating the Fourth Amendment “as long as

the police do not convey a message that compliance with their request is required.”

Bostick, 501 U.S. at 434; see also Delgado, 466 U.S. at 216. “This is true whether

an officer approaches a person who is on foot or a person who is in a car parked in

a public place.” Washington, 490 F.3d at 770 (citing Kim, 25 F.3d at 1430).

        As noted, no one disputes that the encounter between the officers and Osuna

was initially consensual. The officers approached Osuna to check on his welfare in

response to the caller who reported Osuna had been parked in the gas station

parking lot for two hours and appeared to be “passed out drunk” or “OD’d or

something.” Cady v. Dombrowski, 413 U.S. 433, 441 (1973) (A community

caretaking function is one “totally divorced from the detection, investigation, or


MEMORANDUM DECISION AND ORDER - 8
        Case 4:21-cr-00251-BLW Document 55 Filed 12/28/22 Page 9 of 22




acquisition of evidence relating to the violation of a criminal statute.”). The

encounter occurred in a public parking lot in full daylight. See United States v.

Brown, 996 F.3d 998, 1005 (9th Cir. 2021) (relying on the fact that the encounter

occurred during the day and in a public place). The officers did not activate their

patrol vehicle lights or siren as they approached, and they parked away from

Osuna’s vehicle in a way that would not prevent Osuna from driving away. See

United States v. Summers, 268 F.3d 683, 687 (9th Cir. 2001) (finding that no

seizure occurred although the officer's patrol vehicle “partially blocked” the

defendant’s parked car). Although the officers were uniformed, with their firearms

visible, neither officer touched their weapons before Namohala asked to see

Osuna’s license. See United States v. Drayton, 536 U.S. 194, 205 (2002) (stating

that “[t]he presence of a holstered firearm ... is unlikely to contribute to the

coerciveness of [an] encounter absent active brandishing of the weapon). Finally,

Officer Namohala spoke in courteous and cordial tone when he initially greeted

and questioned Osuna – including when he asked to see Osuna’s identification. See

id. at 204 (noting that officers did not use “an authoritative tone of voice”).

      Officer Namohala did not advise Osuna that he could refuse the request for

identification. This factor supports finding a seizure. Orhorhaghe v. I.N.S., 38 F.3d

488, 496 (9th Cir. 1994) (finding that the officers’ failure to “advise [the

defendant] that he was free to decline their instructions and to terminate the


MEMORANDUM DECISION AND ORDER - 9
       Case 4:21-cr-00251-BLW Document 55 Filed 12/28/22 Page 10 of 22




encounter” supported finding a seizure). It is not enough by itself, however. As the

Supreme Court has explained, the fact that most people “will respond to a police

request ... without being told they are free not to respond[ ] hardly eliminates the

consensual nature of the response.” Delgado, 466 U.S. at 216.

      Notably, in Washington, the Ninth Circuit found a consensual encounter in

similar (but arguably more coercive) circumstances. In that case, at approximately

midnight, an officer approached a man in a parked vehicle, shone a flashlight into

the vehicle, and asked for permission to search the man’s person, and the man

agreed. Washington, 490 F.3d at 767–68. In finding that this was a consensual

encounter, the court explained:

      We conclude that although [officer] Shaw conceded he suspected
      Washington of no criminal activity, Shaw’s initial encounter with
      Washington was not a seizure and did not implicate the Fourth
      Amendment. In approaching the scene, Shaw parked his squad car a
      full car length behind Washington’s car, so he did not block it. Shaw
      did not activate his sirens or lights. Shaw approached Washington’s car
      on foot, and did not brandish his flashlight as a weapon, but rather used
      it to illuminate the interior of Washington’s car. Although Shaw was
      uniformed, with his baton and firearm visible, Shaw did not touch either
      weapon during his encounter with Washington. Shaw’s initial
      questioning of Washington was brief and consensual, and the district
      court found that Shaw was cordial and courteous. Under these
      circumstances, the district court correctly concluded that a reasonable
      person would have felt free to terminate the encounter and leave.
      In sum, officer Shaw was entitled to question Washington for
      investigatory purposes, and the mere asking of questions, including
      asking for permission to search Washington’s person, raised no Fourth



MEMORANDUM DECISION AND ORDER - 10
       Case 4:21-cr-00251-BLW Document 55 Filed 12/28/22 Page 11 of 22




      Amendment issue so long as a reasonable person in Washington’s
      situation would have felt free to leave.

Id. at 770 (internal citation omitted).

      As in Washington, the record contains no evidence that Namohala used

undue intimidation or coercion prior to or up to the point he requested to see

Osuna’s license. Namohala’s mere request to see Osuna’s license therefore did not

transform the initially consensual encounter into a “Fourth Amendment event.”

Kim, 25 F.3d at 1430 (holding that no seizure occurred when officers partially

blocked a parked car, approached the car on foot, and requested permission to

question the car’s occupants). Such inquiries are part and parcel of a consensual

encounter unless officers “convey a message that compliance with their requests is

required.” Bostick, 501 U.S. at 437. This is true even though “police interrogation

of automobile occupants typically involves a greater degree of intrusiveness than

questioning of pedestrians and thus more readily impinges on the Fourth

Amendment.” Kim, 25 F.3d at 1430 (citing Mendenhall, 446 U.S. at 556–57).

“However, where, as here, officers come upon an already parked car, this disparity

between automobile and pedestrian stops dissipates and the driver is not clearly

stopped in any sense ab initio, except of his own volition.” Id. In this case, Officer

Namohala could ask to see Osuna’s identification or driver’s license, “and doing so

did not constitute a seizure.” State v. Couch, 857, 504 P.3d 388, 393 (Id. Ct. App.



MEMORANDUM DECISION AND ORDER - 11
       Case 4:21-cr-00251-BLW Document 55 Filed 12/28/22 Page 12 of 22




2021) (“The officer could also ask to see Couch’s identification or driver’s license,

and doing so did not constitute a seizure”).

      Relying on the Idaho Court of Appeals decision in State v. Osborne, 7 P.3d

219 (Id. Ct. App. 1991), Osuna insists that “[w]hen Officer Namohala asked the

Defendant to produce his driver’s license, he was seized in Idaho as a matter of

law.” Def’s Written Closing Argument, p. 6, Dkt. 53. In Osborne, the court

concluded that the defendant was seized when the officer ‘took’ the defendant’s

license. Id. In addition, the Osborne court held “as a matter of law that Osborne

could not reasonably have believed he was at liberty to ignore the police presence

and go about his business” when the officer asked to see Osborne's driver's license

because I.C. § 49-316 required him to comply with the request since he was in the

driver’s seat of a vehicle with the engine running. Id. But – consistent with

Supreme Court precedent – the Idaho Supreme Court implicitly overruled the

Idaho Court of Appeals decision in Osborne when it held that “[i]nterrogating a

person concerning his identification or requesting identification does not, without

more, constitute a seizure” – even if the individual is seated in the driver’s seat of a

vehicle. State v. Nickel, 7 P.3d 219, 222 (Idaho 2000) (citing Delgado, 66 U.S. at

216); see also Couch, 857, 504 P.3d at 393, n. 2 (“To the extent Osborne conflicts

with the Idaho Supreme Court’s opinion in Nickel, it has been implicitly




MEMORANDUM DECISION AND ORDER - 12
       Case 4:21-cr-00251-BLW Document 55 Filed 12/28/22 Page 13 of 22




overruled.”). Thus, Osborne no longer mandates a finding that Namohala’s request

to see Osuna’s driver’s license constituted a seizure as a matter of law.

      Osuna’s reliance on the Supreme Court’s decision in Brown v. Texas, 443

U.S. 47 (1979) is similarly misplaced. Citing Brown, Osuna argues that a police

officer can never request an individual provide identification absent reasonable

suspicion. But, contrary to Osuna’s assertion, Brown did not create such a blanket

rule. In Brown, the officers saw two men in a high crime area. They allowed one to

leave but stopped the other and ordered him to identify himself and explain his

presence, merely because he “looked suspicious” and had not been observed in the

area before. Brown clearly could not leave. Brown refused to identify himself and

disputed the officers’ right to stop him. The officers then frisked Brown and

arrested him for violating a Texas statute that prohibited refusal to identify oneself

when lawfully stopped and requested to do so. The Supreme Court held “[w]hen

the officers detained [Brown] for the purpose of requiring him to identify himself,

they performed a seizure of his person subject to the requirements of the Fourth

Amendment.” Brown, 443 U.S. at 50 (emphasis added).

      In Brown, it was the fact the officers clearly detained Brown before

demanding he identify himself that led the Court to conclude a seizure had

occurred, and thus reasonable suspicion was required; it was not the mere fact the

officers requested to see Brown’s identification. In this case, by contrast, Officer


MEMORANDUM DECISION AND ORDER - 13
       Case 4:21-cr-00251-BLW Document 55 Filed 12/28/22 Page 14 of 22




Namohala did not stop or detain Osuna before requesting to see his identification.

Osuna was already stopped – and had been so for two hours – when Officer

Namohala asked to see his identification. Brown is therefore easily distinguished.

   2. Reasonable Suspicion

      Even if Officer Namohala seized Osuna in the constitutional sense when he

requested to see his license, Namohala had reasonable suspicion to briefly detain

Namohala and conduct a driving under the influence investigation based on the

information provided by the caller and on his own independent observations of

Osuna while conducting a valid welfare check.

      The Fourth Amendment permits brief investigatory detentions as long as the

officer has “reasonable suspicion supported by articulable facts that criminal

activity may be afoot,” and the stop is limited in scope. United State v. Sokolow,

490 U.S. 1, 7 (1989); Terry, 392 U.S. at 30. “The ‘reasonable suspicion’ necessary

to justify such a stop is dependent upon both the content of information possessed

by police and its degree of reliability.” Navarette v. California, 572 U.S. 393, 397

(2014) (quoting Alabama v. White, 496 U.S. 325, 330, (1990) (internal quotation

marks omitted). “The standard takes into account the totality of the

circumstances—the whole picture,” such that factors which by themselves suggest

only innocent conduct may amount to reasonable suspicion when taken together.

Id. (quoting United States v. Cortez, 449 U.S. 411, 417–418 (1981)); see also


MEMORANDUM DECISION AND ORDER - 14
       Case 4:21-cr-00251-BLW Document 55 Filed 12/28/22 Page 15 of 22




Sokolow, 490 U.S. at 8–10. “Although ‘a mere hunch’ does not create reasonable

suspicion, the level of suspicion the standard requires is considerably less than

proof of wrongdoing by a preponderance of the evidence, and obviously less than

is necessary for probable cause.” Navarette, 572 U.S. at 397 (internal citations and

quotation marks omitted); see also Illinois v. Wardlow, 528 U.S. 119, 125 (2000).

      “These principles apply with full force to investigative stops based on

information from anonymous tips.” Navarette, 572 U.S. at 397. In some cases, a

citizen’s tip may by itself create a reasonable suspicion sufficient to justify a

temporary vehicle stop or detention, even if the officer does not personally observe

unlawful activity. Florida v. J.L., 529 U.S. 266, 270 (2000). But an anonymous tip

alone without “indicia of reliability” is not enough. Id.

      Here, the information provided by the caller and conveyed by dispatch to the

officers of a “male slumped over the steering wheel for the last two hours” in a

damaged black Nissan Altima justified, at a minimum, a welfare check on the

driver of the vehicle to determine whether he needed medical attention. When the

officers arrived, they observed a vehicle matching the description the caller gave –

including the damage to the vehicle. The officers further observed that the vehicle

was parked askew in the space. Upon Officer Namohala’s speaking with Osuna,

Osuna immediately pointed out the damage to his vehicle, appeared to

acknowledge the caller’s assertion that he had been parked there for two hours, and


MEMORANDUM DECISION AND ORDER - 15
        Case 4:21-cr-00251-BLW Document 55 Filed 12/28/22 Page 16 of 22




gave a somewhat confused and inconsistent account of why he was parked there

and when the damage to the vehicle had occurred. Officer Namohala immediately

noted that Osuna’s eyes were “really bad,” and the video confirmed Osuna’s eyes

appeared glassy, suggesting that Osuna may have been impaired. 1

       Officer Namohala’s own observations of Osuna, coupled with the

information Namohala had received from dispatch, established specific and

articulable facts giving rise to a reasonable suspicion that Osuna may be impaired.

See Navarette, 572 U.S. at 395. And Officer Namohala’s observations of the car’s

motor running with Osuna sitting in the driver’s seat gave rise to reasonable

suspicion that Osuna may have been in actual physical control of the care. Thus, to

the extent Officer Namohala’s request to see Osuna’s driver license constituted a

seizure, the Namohala’s corroboration of many of the details provided by the

caller, along with the officer’s personal observations, justified further

investigation, particularly given the minimal intrusion such a request presented.

See Delaware v. Prouse, 440 U.S. 648, 654, 660 (1979) (“[T]he permissibility of a



       1
         The Court did not perceive Osuna’s eyes as red or bloodshot based on the video
footage, but they did appear “glassy.” Likewise, the Court did not perceive Osuna’s speech as
“slurred” but agrees Osuna’s explanations were somewhat confused and inconsistent. The fact of
Osuna’s glassy or watery eyes and his confused and changing story are objective facts upon
which Officer Namohala could rely. In addition, the Court notes that body cam footage is not the
same as live observations, and there is no reason to doubt the veracity of Officer Namohala’s
observations regarding Osuna’s eyes.



MEMORANDUM DECISION AND ORDER - 16
       Case 4:21-cr-00251-BLW Document 55 Filed 12/28/22 Page 17 of 22




particular law enforcement practice is judged by balancing its intrusion on the

individual's Fourth Amendment interests against its promotion of legitimate

governmental interests.”). Officers Namohala and Saldana’s subsequent

observations of Osuna’s slow and confused movements while searching for his

driver’s license in multiple areas of the vehicle bolstered the officers’ reasonable

suspicion that Osuna may have been impaired and further justified Officer

Namohala’s request that Osuna exit the vehicle to perform a field sobriety test.

      This case is unlike Florida v. J.L., 529 U.S. 266 (2000), in which Miami-

Dade police officers, responding to a purely anonymous call reporting that “a

young black male standing at a particular bus stop and wearing a plaid shirt was

carrying a gun,” found a male meeting that description and searched him and his

two friends, based solely on the tip. Id. at 268. In holding the search

unconstitutional, the Supreme Court emphasized that “apart from the tip, the

officers had no reason to suspect any” of the men they searched of any illegal or

suspicious conduct. Id. Indeed, the Court distinguished prior case law by

highlighting that the stop and frisk in J.L. resulted “not from any observations of

[the officers] but solely from a call made from an unknown location by an

unknown caller.” Id. at 270. Thus, the Court held that there were insufficient

indicia of reliability to support the tip, focusing in particular on the lack of




MEMORANDUM DECISION AND ORDER - 17
       Case 4:21-cr-00251-BLW Document 55 Filed 12/28/22 Page 18 of 22




information that would demonstrate the tipster’s credibility or basis of knowledge.

Id. at 271.

      By contrast, in this case, Officer Namohala did not rely solely upon a call

made by an unknown person from an unknown location. To the contrary, the caller

revealed her location and basis of her knowledge, as the nature and substance of

the tip made clear the caller had personally observed the male passed out in a

damaged vehicle for two hours at the Common Cents gas station. Critically,

Officer Namohala did not rely solely on the information provided by the caller

before he seized Osuna. Instead, he confirmed the tip’s reliability based upon his

own observations upon arriving at the scene, including the damage to the vehicle,

and speaking with Osuna, who Officer Namohala perceived as having red and

glassy eyes and confused speech. Unlike in J.L., Officer Namohala suitably

corroborated the tip, and it was accompanied by a number of other relevant factors

that indicated the potential for criminal activity. The tip, whether “anonymous” or

not, carried sufficient indicia of reliability to form part of Officer Namohala’s

reasonable suspicion.

      Reasonable suspicion requires only “some minimal level of objective

justification,” Delgado, 466 U.S. at 217, “based on commonsense judgments and

inferences about human behavior,” Wardlow, 528 U.S. at 125. Based on the totality

of the circumstances in this case, the Court cannot say under these circumstances


MEMORANDUM DECISION AND ORDER - 18
       Case 4:21-cr-00251-BLW Document 55 Filed 12/28/22 Page 19 of 22




that Officer Namohala was unjustified in seeking to briefly detain Osuna to

perform sobriety testing. See, e.g., United States v. Hernandez, No. CR-10-121-E-

EJL, 2011 WL 447451, at *2 (D. Idaho Feb. 4, 2011) (“During this initial contact

with the Defendant, Corporal Barnes noticed suspicious factors which were

particularized and objective. Corporal Barnes testified that the Defendant had

glassy and bloodshot eyes, was more nervous than the average citizen, and his

“story” did not make sense.”).

   3. Probable Cause

      The government also argues Officer Namohala had probable cause to

believe defendant was in possession of drug paraphernalia when Osuna dropped a

pen case, an item commonly used to ingest illegal drugs, upon exiting his vehicle.

Thus, the arrest was justified, according to the government.

      A warrantless arrest under the Fourth Amendment requires probable cause to

believe a crime has been committed. Michigan v. Summers, 452 U.S. 692, 700

(1981). “Probable cause to arrest exists when officers have knowledge or

reasonably trustworthy information sufficient to lead a person of reasonable

caution to believe that an offense has been or is being committed by the person

being arrested.” United States v. Lopez, 4823 F.3d 1067, 1072 (9th Cir. 2007)

(citing Beck v. Ohio, 379 U.S. 89, 91 (1964)). “Probable cause requires only a




MEMORANDUM DECISION AND ORDER - 19
       Case 4:21-cr-00251-BLW Document 55 Filed 12/28/22 Page 20 of 22




probability or substantial chance of criminal activity, not the actual showing of that

activity.” Illinois v. Gates, 462 U.S. 213, 232 (1983).

       In United States v. Hartz, 458 F.3d 1011(9th Cir. 2006), the Ninth Circuit

held that “the presence of a marijuana pipe in Hartz’s pocket, together with

undocumented prescription pills, created a ‘fair probability’ that Hartz’s had

committed a crime, namely use of drug paraphernalia.” Id. at 1018. The facts

available to Officer Namohala in this case created at least as high a probability as

those in Hartz that Osuna had committed the crime of using drug paraphernalia.

Under Idaho law, it is illegal for any person “to use, or to possess with intent to

use, drug paraphernalia to ... ingest, inhale, or otherwise introduce into the human

body a controlled substance.” I.C. § 37-2734A(1). Furthermore, Officer Namohala

testified, based on his training and experience, that a “tooter” or hollow or empty

pen case is commonly used to ingest drugs and therefore qualifies as “drug

paraphernalia.” I.C. § 37-2701(o) (defining drug paraphernalia as “all equipment,

products and materials of any kind used, intended for use, or designed for use

in…ingesting, inhaling, or otherwise introducing into the human body a controlled

substance”). As in Hartz, this Court concludes that Officer Namohala had probable

cause to arrest Osuna. Hartz, 458 F.3d at 1019.

      Osuna argues that Officer Namohala did not have probable cause to arrest

Osuna for possession of drug paraphernalia because “Officer Namohala had


MEMORANDUM DECISION AND ORDER - 20
       Case 4:21-cr-00251-BLW Document 55 Filed 12/28/22 Page 21 of 22




nothing from which to infer the defendant’s intent to use.” Def’s Written Closing

Argument, p. 10, Dkt. 53. The Court disagrees. As the government argues, the

“tooter” must be considered under the totality of the circumstances, which include:

(1) the information provided by the caller that a male was passed out or slumped

over in a vehicle for two hours, and the vehicle was damaged; (2) Officer

Namohala’s observations consistent with the information provided by the caller,

including the damage to the vehicle; (3) the vehicle was not parked squarely in the

space; (4) Osuna’s apparent confirmation that he had been parked there for two

hours; (5) Osuna’s watery or glassy eyes, slow movements, and confused

statements; and (6) the fact the “tooter” fell from Osuna’s lap, suggesting it was

literally close at hand. From these facts, Officer Namohala could infer that Osuna

possessed the tooter “with intent to use” and thus had probable cause to arrest

Osuna for violation of Idaho Code § 37-2734A(1).

      Because Namohala had probable cause to arrest Osuna, searching inside the

vehicle was a constitutionally permissible search incident to arrest. Hertz, 458 F.3d

at 1019 (citing United States v. Robinson, 414 U.S. 218, 226 (1973) and United

States v. Fixen, 780 F.2d 1434, 1438 (9th Cir. 1986) (“[W]hen a policeman has

made a lawful custodial arrest of the occupant of an automobile, he may, as a

contemporaneous incident of that arrest, search the passenger compartment of that

automobile.”) (internal quotation marks and citation omitted))). The Court


MEMORANDUM DECISION AND ORDER - 21
       Case 4:21-cr-00251-BLW Document 55 Filed 12/28/22 Page 22 of 22




therefore will deny Osuna’s motion to suppress any evidence obtained as a result

of the search of his car and its contents.

                                       ORDER

      IT IS ORDERED that Defendant Marco Antonio Osuna’s Motion to

Suppress (Dkt. 44) is DENIED.



                                             DATED: December 28, 2022


                                             _________________________
                                             B. Lynn Winmill
                                             U.S. District Court Judge




MEMORANDUM DECISION AND ORDER - 22
